Case 5:08-cr-50051-KES      Document 630    Filed 04/09/12   Page 1 of 3 PageID #: 3769



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                  )       CR. 08-50051-02-KES
                                            )
             Plaintiff,                     )
                                            )
    vs.                                     )    ORDER DENYING MOTION
                                            )   FOR SENTENCE REDUCTION
 ALVINA WHITE BULL,                         )         PURSUANT TO
                                            )       18 U.S.C. § 3582(a)
             Defendant.                     )

          Defendant, Alvina White Bull, moves the court to reduce her sentence

 because she claims that the court improperly increased the length of her

 sentence to foster her rehabilitation and to promote correction. Docket 629.

 The government did not respond to White Bull’s motion.

          White Bull pleaded guilty to one count of conspiracy to distribute a

 controlled substance, and the substance was cocaine. Docket 470. The

 superseding indictment alleged involvement with both cocaine and

 marijuana, but White Bull only pleaded guilty to the cocaine offense. Docket

 209; Docket 470. Prior to sentencing, White Bull had a base offense level of

 33, she was in Criminal History Category I, and she was subject to a

 mandatory minimum term of imprisonment of 10 years. Her advisory

 guideline range was 135 to 168 months. White Bull was sentenced to 135

 months’ imprisonment, which was the very bottom of her advisory guideline

 range. Docket 531.

          White Bull argues that she was given a lengthy sentence in light of

 her criminal record and her sentence was imposed “in order to foster her

 rehabilitation and promote correction.” Docket 629 at 2. White Bull claims
Case 5:08-cr-50051-KES   Document 630     Filed 04/09/12   Page 2 of 3 PageID #: 3770



 that because the court ordered that she attend the 500-hour substance

 abuse program and she was not eligible to enter that program, that relief is

 warranted. She again claims that her sentence was imposed under an

 excessive range, and she should not linger in prison.

       Under 18 U.S.C. § 3582(a), when the court determines the appropriate

 length of imprisonment it considers the factors set forth in § 3553(a), but

 must recognize that “imprisonment is not an appropriate means of

 promoting correction and rehabilitation.” The United States Supreme Court

 recently stated that a district court cannot lengthen a defendant’s prison

 term simply to promote his or her correction or to foster rehabilitation.

 Tapia v. United States, ___ U.S. ____, 131 S. Ct. 2382 (2011).

       The court did not sentence White Bull to 135 months to promote

 correction or to foster her rehabilitation. The court sentenced White Bull to

 135 months because that was the bottom end of her advisory guideline

 range, and the court determined that the sentence was appropriate after

 considering the factors set forth in § 3553(a). The court recommended that

 White Bull attend the 500-hour substance abuse program within the

 Bureau of Prisons, but it was merely a recommendation. “A sentencing

 court can recommend that the BOP place an offender in a particular facility

 or program . . . [b]ut decisionmaking authority rests with the BOP.” Tapia,

 131 S. Ct. at 2390-91. The court sentenced White Bull within her advisory

 guideline range, so any argument about the failures of the substance abuse

 program in regard to her sentence is without merit.


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Case 5:08-cr-50051-KES   Document 630     Filed 04/09/12   Page 3 of 3 PageID #: 3771



       White Bull makes a final claim that “[t]here is no reason to deny

 3582(a) relief to defendants who linger in prison pursuant to sentences that

 would not have been imposed but for a since-rejected excessive range.”

 Docket 629 at 2. If this is an attempt to reargue that her sentence should be

 modified based on the crack cocaine reductions within the Fair Sentencing

 Act, that argument is unpersuasive. White Bull was sentenced pursuant to

 her involvement with cocaine, rather than crack cocaine or cocaine base,

 and the Fair Sentencing Act can offer her no relief. See Mejia v. United

 States, Cr. No. 07-186, 2011 WL 5456904, at *1 (S.D.N.Y. Nov. 7, 2011)

 (“However, the emergency amendments did not alter the applicable

 guidelines range for individuals convicted of cocaine—rather than cocaine

 base—offenses.”). Because White Bull was sentenced to 135 months’

 imprisonment based on the factors set forth in § 3553(a) and based on her

 advisory guideline range, not on the need for rehabilitation or to promote

 correction, a sentence reduction is unwarranted. Accordingly, it is

       ORDERED that White Bull’s motion for a sentence reduction

 pursuant to 18 U.S.C. § 3582(a) (Docket 629) is denied.

       Dated April 9, 2012.

                                BY THE COURT:

                                /s/ Karen E. Schreier
                                KAREN E. SCHREIER
                                CHIEF JUDGE




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